    Case: 20-16408, 01/09/2023,
    Case 4:19-cv-07123-PJH      ID: 12626209,
                             Document         DktEntry:
                                        162 Filed       93-1, Page 1 of 1
                                                  01/09/23

              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                January 9, 2023


Clerk
United States Court of Appeals for the Ninth
Circuit
95 Seventh Street
San Francisco, CA 94103-1526


      Re: NSO Group Technologies Limited, et al.
          v. WhatsApp Inc., et al.
          No. 21-1338
          (Your No. 20-16408)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                        Sincerely,




                                        Scott S. Harris, Clerk
